          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 1 of 22 Page ID #:1389


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          13
                                              UNITED STATES DISTRICT COURT
          14
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
          15
          16     NATIONAL ASSOCIATION OF                            CASE NO. 2:15-cv-01239-TJH-MAN
                 AFRICAN-AMERICAN OWNED
          17     MEDIA, a California limited liability              DEFENDANT COMCAST
                 company; and ENTERTAINMENT                         CORPORATION’S ANSWER TO
          18     STUDIOS NETWORKS, INC., a                          SECOND AMENDED COMPLAINT
          19     California corporation,
                                                                    Judge: Hon. Terry J. Hatter, Jr.
          20                             Plaintiffs,

          21             v.
          22     COMCAST CORPORATION, a
                 Pennsylvania corporation; and DOES 1
          23     through 10, inclusive,
          24                             Defendants.
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                 Defendant Comcast Corporation’s Answer to Second                       Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 2 of 22 Page ID #:1390


            1            Except as otherwise expressly stated below, Comcast Corporation (“Comcast”)
            2    denies each and every allegation contained in the Second Amended Complaint
            3    (“SAC”) filed by Plaintiffs National Association of African American-Owned Media
            4    (“NAAAOM”) and Entertainment Studios Networks, Inc. (“ESN”). Comcast states
            5    that the headings and sub-headings throughout the Complaint do not constitute well-
            6    pled allegations of fact and therefore require no response. To the extent a response is
            7    required, Comcast denies the allegations in the headings and sub-headings in the SAC.
            8    Comcast reserves the right to seek to amend and/or supplement its Answer as may be
            9    necessary.
          10                                               INTRODUCTION
          11             1.      With respect to paragraph 1, Comcast admits that Plaintiffs have filed this
          12     lawsuit against Comcast. Comcast disputes Plaintiffs’ characterization of its conduct
          13     or that its conduct provides a basis for any actionable claim, and denies that it has
          14     engaged in a racially discriminatory refusal to contract with ESN. Comcast lacks
          15     sufficient knowledge or information to form a belief as to the truth of the allegations
          16     regarding the ownership of ESN, and on that basis denies those allegations. Comcast
          17     denies the remaining allegations in paragraph 1.
          18             2.      Comcast lacks sufficient knowledge or information to form a belief as to
          19     the truth of the allegations in paragraph 2, and on that basis denies the allegations in
          20     paragraph 2.
          21             3.      With respect to paragraph 3, Comcast admits that it currently is the largest
          22     cable television company in the United States and has the highest number of pay
          23     television cable subscribers in the United States. Comcast lacks sufficient knowledge
          24     or information to form a belief as to the truth of the allegations regarding the
          25     ownership of Black Entertainment Television, and on that basis denies those
          26     allegations. Comcast denies the remaining allegations in paragraph 3.
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                 Defendant Comcast Corporation’s Answer to Second   1                Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 3 of 22 Page ID #:1391


            1            4.      Comcast lacks sufficient knowledge or information to form a belief as to
            2    the truth of the allegations in paragraph 4, and on that basis denies the allegations in
            3    paragraph 4.
            4            5.      With respect to paragraph 5, Comcast admits that ESN has met and
            5    spoken with Comcast executives responsible for licensing television networks between
            6    2008 to 2015 on several occasions. Comcast disputes Plaintiffs’ characterization of its
            7    conduct or that its conduct provides a basis for any actionable claim, and denies that it
            8    has engaged in a racially discriminatory refusal to contract with ESN. Comcast denies
            9    the remaining allegations in paragraph 5.
          10             6.      With respect to paragraph 6, Comcast denies that its refusal to carry
          11     ESN’s networks is unprecedented, that it does not have any legitimate business reason
          12     to exclude ESN, and that it engaged in race-based discrimination. Comcast disputes
          13     Plaintiffs’ characterization of its conduct or that its conduct provides a basis for any
          14     actionable claim, and denies that it has engaged in a racially discriminatory refusal to
          15     contract with ESN. Comcast lacks sufficient knowledge or information to form a
          16     belief as to the truth of the remaining allegations in paragraph 6, and on that basis
          17     denies the remaining allegations in paragraph 6.
          18             7.      With respect to paragraph 7, Comcast disputes that the allegations in
          19     paragraph 7 accurately characterize the nature of its discussions with ESN, and on that
          20     basis denies Plaintiffs’ characterizations and allegations regarding its discussions with
          21     ESN. Comcast disputes Plaintiffs’ characterization of its conduct or that its conduct
          22     provides a basis for any actionable claim, and denies that it has engaged in a racially
          23     discriminatory refusal to contract with ESN. Comcast admits that it has carried
          24     Inspirational Network, FitTV, Outdoor Channel, and Current TV. Comcast denies the
          25     remaining allegations in paragraph 7.
          26             8.      With respect to paragraph 8, Comcast disputes that the allegations in
          27     paragraph 8 accurately characterize the nature of its discussions with ESN, and on that
          28     basis denies Plaintiffs’ characterizations and allegations regarding its discussions with

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                 Defendant Comcast Corporation’s Answer to Second   2                Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 4 of 22 Page ID #:1392


            1    ESN. Comcast disputes Plaintiffs’ characterization of its conduct or that its conduct
            2    provides a basis for any actionable claim, and denies that it has engaged in a racially
            3    discriminatory refusal to contract with ESN. Comcast denies the remaining allegations
            4    in paragraph 8.
            5            9.      With respect to paragraph 9, Comcast disputes that the allegations in
            6    paragraph 9 accurately characterize the nature of its discussions with ESN, and on that
            7    basis denies Plaintiffs’ characterizations and allegations regarding its discussions with
            8    ESN. Comcast denies the remaining allegations in paragraph 9.
            9            10.     Comcast denies the allegations in paragraph 10.
          10             11.     With respect to paragraph 11, Comcast disputes that the allegations in
          11     paragraph 11 accurately characterize the nature of its discussions with ESN, and on
          12     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          13     with ESN. Comcast lacks sufficient knowledge or information to form a belief as to
          14     the truth of the allegations regarding the carriage of ESN’s networks by Comcast’s
          15     competitors, and on that basis denies those allegations. Comcast denies the remaining
          16     allegations in paragraph 11.
          17             12.     With respect to paragraph 12, Comcast disputes Plaintiffs’
          18     characterization of its conduct or that its conduct provides a basis for any actionable
          19     claim, and denies that it has engaged in a racially discriminatory refusal to contract
          20     with ESN. Comcast denies the allegations in paragraph 12.
          21             13.     Comcast denies the allegations in paragraph 13.
          22             14.     Comcast denies the allegations in paragraph 14.
          23             15.     Comcast denies the allegations in paragraph 15.
          24             16.     Comcast denies the allegations in paragraph 16.
          25             17.     Comcast denies the allegations in paragraph 17.
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                 Defendant Comcast Corporation’s Answer to Second   3               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 5 of 22 Page ID #:1393


            1                              PARTIES, JURISDICTION AND VENUE
            2            18.     Comcast lacks sufficient knowledge or information to form a belief as to
            3    the truth of the allegations in paragraph 18, and on that basis denies the allegations in
            4    paragraph 18.
            5            19.     Comcast lacks sufficient knowledge or information to form a belief as to
            6    the truth of the allegations in paragraph 19, and on that basis denies the allegations in
            7    paragraph 19.
            8            20.     With respect to paragraph 20, Comcast denies that ESN is being
            9    discriminated against on account of race. Comcast lacks sufficient knowledge or
          10     information to form a belief as to the truth of the allegations relating to NAAAOM’s
          11     membership, the interests at stake in this litigation, and NAAAOM’s purpose, and on
          12     that basis denies those allegations. Comcast admits that NAAAOM only seeks
          13     injunctive relief. The remaining allegations in paragraph 20 are conclusions of law for
          14     which no responsive pleading is required; to the extent a response is required, Comcast
          15     denies the allegations.
          16             21.     Comcast lacks sufficient knowledge or information to form a belief as to
          17     the truth of the allegations in paragraph 21, and on that basis denies the allegations in
          18     paragraph 21.
          19             22.     Comcast lacks sufficient knowledge or information to form a belief as to
          20     the truth of the allegations in paragraph 22, and on that basis denies the allegations in
          21     paragraph 22.
          22             23.     With respect to paragraph 23, Comcast denies that there is a clear and
          23     obvious high market demand for ESN’s programming and networks. Comcast lacks
          24     sufficient knowledge or information to form a belief as to the truth of the remaining
          25     allegations in paragraph 23, and on that basis denies the remaining allegations in
          26     paragraph 23.
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                 Defendant Comcast Corporation’s Answer to Second   4               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 6 of 22 Page ID #:1394


            1            24.     Comcast lacks sufficient knowledge or information to form a belief as to
            2    the truth of the allegations in paragraph 24, and on that basis denies the allegations in
            3    paragraph 24.
            4            25.     Comcast lacks sufficient knowledge or information to form a belief as to
            5    the truth of the allegations in paragraph 25, and on that basis denies the allegations in
            6    paragraph 25.
            7            26.     Comcast lacks sufficient knowledge or information to form a belief as to
            8    the truth of the allegations in paragraph 26, and on that basis denies the allegations in
            9    paragraph 26.
          10             27.     With respect to paragraph 27, Comcast denies that it has engaged in a
          11     racially discriminatory refusal to carry ESN’s networks. To the extent Plaintiffs seek
          12     to summarize or characterize the contents of the document attached as Exhibit A to the
          13     SAC, the document is the best evidence of what it contains and it speaks for itself, and
          14     on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
          15     document attached as Exhibit A to the SAC. Comcast lacks sufficient knowledge or
          16     information to form a belief as to the truth of the remaining allegations in paragraph
          17     27, and on that basis denies the remaining allegations in paragraph 27.
          18             28.     Comcast lacks sufficient knowledge or information to form a belief as to
          19     the truth of the allegations in paragraph 28, and on that basis denies the allegations in
          20     paragraph 28.
          21             29.     Comcast lacks sufficient knowledge or information to form a belief as to
          22     the truth of the allegations in paragraph 29, and on that basis denies the allegations in
          23     paragraph 29.
          24             30.     Comcast lacks sufficient knowledge or information to form a belief as to
          25     the truth of the allegations in paragraph 30, and on that basis denies the allegations in
          26     paragraph 30.
          27             31.     Comcast admits the allegations in paragraph 31.
          28

Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second   5               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 7 of 22 Page ID #:1395


            1            32.     With respect to paragraph 32, Comcast admits that it is a global media and
            2    technology company, but denies that it is a media giant and denies that it is has
            3    monopoly control over the cable market in several major geographic markets across
            4    the United States. Comcast admits the remaining allegations in paragraph 32.
            5            33.     With respect to paragraph 33, Comcast admits that it has contracted with
            6    the Black Family Channel and the Africa Channel. Comcast lacks sufficient
            7    knowledge or information to form a belief as to the truth of the remaining allegations
            8    in paragraph 33, and on that basis denies the remaining allegations in paragraph 33.
            9            34.     Paragraph 34 contains a pleading device to which no response is required.
          10     To the extent a response is required, Comcast denies the allegations of paragraph 34.
          11                                                        FACTS
          12             35.     With respect to paragraph 35, Comcast admits that the Court has
          13     jurisdiction under 28 U.S.C. § 1331, and, for purposes of this action only, that venue is
          14     proper in this district.
          15             36.     Comcast lacks sufficient knowledge or information to form a belief as to
          16     the truth of the allegations in paragraph 36 regarding what a top advisor to the
          17     Chairman of the Federal Communications Commission told an ESN representative,
          18     and on that basis denies those allegations. Comcast denies the remaining allegations in
          19     paragraph 36.
          20             37.     With respect to paragraph 37, the Third Circuit’s decision in Prometheus
          21     Radio Project v. FCC is the best evidence of what it contains and it speaks for itself,
          22     and on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding
          23     that decision. Comcast lacks sufficient knowledge or information to form a belief as to
          24     the truth of the remaining allegations in paragraph 37, and on that basis denies the
          25     remaining allegations in paragraph 37.
          26             38.     With respect to paragraph 38, the Third Circuit’s decision in Prometheus
          27     Radio Project v. FCC is the best evidence of what it contains and it speaks for itself,
          28     and on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding

Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second     6             Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 8 of 22 Page ID #:1396


            1    that decision. Comcast lacks sufficient knowledge or information to form a belief as to
            2    the truth of the remaining allegations in paragraph 38, and on that basis denies the
            3    remaining allegations in paragraph 38.
            4            39.     With respect to paragraph 39, the Third Circuit’s decision in Prometheus
            5    Radio Project v. FCC is the best evidence of what it contains and it speaks for itself,
            6    and on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding
            7    that decision. Comcast denies the remaining allegations in paragraph 39.
            8            40.     Comcast denies the allegations in paragraph 40.
            9            41.     With respect to paragraph 41, Comcast disputes that the allegations
          10     regarding Comcast’s control over its cable distribution platform accurately characterize
          11     any such control, and on that basis denies Plaintiffs’ characterizations and allegations
          12     regarding its control over its cable distribution platform. Comcast denies the
          13     remaining allegations in paragraph 41.
          14             42.     Comcast denies the allegations in paragraph 42.
          15             43.     With respect to paragraph 43, Comcast admits that ESN sought carriage
          16     from Comcast and that Comcast and ESN had multiple meetings over multiple years
          17     with multiple Comcast officials. Comcast denies the remaining allegations in
          18     paragraph 43.
          19             44.     With respect to paragraph 44, Comcast disputes that the allegations in
          20     paragraph 44 accurately characterize the nature of its discussions with ESN, and on
          21     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          22     with ESN. Comcast denies the remaining allegations in paragraph 44.
          23             45.     With respect to paragraph 45, Comcast disputes that the allegations in
          24     paragraph 45 accurately characterize the nature of its discussions with ESN, and on
          25     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          26     with ESN. Comcast denies the remaining allegations in paragraph 45.
          27             46.     With respect to paragraph 46, Comcast disputes that the allegations in
          28     paragraph 46 accurately characterize the nature of its discussions with ESN, and on

Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second   7               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
          Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 9 of 22 Page ID #:1397


            1    that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
            2    with ESN. Comcast denies the remaining allegations in paragraph 46.
            3            47.     With respect to paragraph 47, Comcast disputes that the allegations in
            4    paragraph 47 accurately characterize the nature of its discussions with ESN, and on
            5    that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
            6    with ESN. Comcast denies the remaining allegations in paragraph 47.
            7            48.     With respect to paragraph 48, Comcast disputes that the allegations in
            8    paragraph 48 accurately characterize the nature of its discussions with ESN, and on
            9    that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          10     with ESN. Comcast lacks sufficient knowledge or information to form a belief as to
          11     the truth of the allegations in paragraph 48 regarding the carriage of ESN’s networks
          12     by Comcast’s competitors, and on that basis denies those allegations. Comcast denies
          13     the remaining allegations in paragraph 48.
          14             49.     With respect to paragraph 49, Comcast disputes that the allegations in
          15     paragraph 49 accurately characterize the nature of its discussions with ESN, and on
          16     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          17     with ESN. Comcast disputes Plaintiffs’ characterization of its conduct or that its
          18     conduct provides a basis for any actionable claim, and denies that it has engaged in a
          19     racially discriminatory refusal to contract with ESN. Comcast denies the remaining
          20     allegations in paragraph 49.
          21             50.     Comcast lacks sufficient knowledge or information to form a belief as to
          22     the truth of the allegations in paragraph 50, and on that basis denies the allegations in
          23     paragraph 50.
          24             51.     With respect to paragraph 51, Comcast disputes that the allegations in
          25     paragraph 51 accurately characterize the nature of its discussions with ESN, and on
          26     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          27     with ESN. Comcast disputes Plaintiffs’ characterization of its conduct or that its
          28     conduct provides a basis for any actionable claim, and denies that it has engaged in a

Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second   8               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 10 of 22 Page ID #:1398


            1    racially discriminatory refusal to contract with ESN. Comcast admits that it has added
            2    carriage for channels since 2010, including BabyFirst Americas. Comcast lacks
            3    sufficient knowledge or information to form a belief as to the truth of the allegations
            4    regarding the ownership and focus of Historical Black Colleges and Universities
            5    Network, and on that basis denies those allegations. Comcast denies the remaining
            6    allegations in paragraph 51.
            7            52.     With respect to paragraph 52, Comcast disputes Plaintiffs’
            8    characterization of its conduct or that its conduct provides a basis for any actionable
            9    claim, and denies that it has engaged in a racially discriminatory refusal to contract
          10     with ESN. Comcast denies the allegations in paragraph 52.
          11             53.     With respect to paragraph 53, Comcast disputes that the allegations in
          12     paragraph 53 accurately characterize the nature of its discussions with ESN, and on
          13     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          14     with ESN. Comcast lacks sufficient knowledge or information to form a belief as to
          15     the truth of the allegations regarding the carriage of ESN’s networks by Comcast’s
          16     competitors, and on that basis denies those allegations. Comcast denies the remaining
          17     allegations in paragraph 53.
          18             54.     Comcast lacks sufficient knowledge or information to form a belief as to
          19     the truth of the allegations in paragraph 54, and on that basis denies the allegations in
          20     paragraph 54.
          21             55.     With respect to paragraph 55, to the extent Plaintiffs seek to summarize or
          22     characterize the contents of the document attached as Exhibit B to the SAC, the
          23     document is the best evidence of what it contains and it speaks for itself, and on that
          24     basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
          25     document attached as Exhibit B to the SAC. Comcast lacks sufficient knowledge or
          26     information to form a belief as to the truth of the allegations regarding the carriage of
          27     ESN’s networks by Comcast’s competitors, and on that basis denies those allegations.
          28     Comcast denies the remaining allegations in paragraph 55.

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                 Defendant Comcast Corporation’s Answer to Second   9                Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 11 of 22 Page ID #:1399


            1            56.     Comcast lacks sufficient knowledge or information to form a belief as to
            2    the truth of the allegations in paragraph 56, and on that basis denies the allegations in
            3    paragraph 56.
            4            57.     Comcast lacks sufficient knowledge or information to form a belief as to
            5    the truth of the allegations in paragraph 57, and on that basis denies the allegations in
            6    paragraph 57.
            7            58.     With respect to paragraph 58, Comcast disputes that the allegations in
            8    paragraph 58 accurately characterize the nature of its discussions with ESN, and on
            9    that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          10     with ESN. Comcast disputes Plaintiffs’ characterization of its conduct or that its
          11     conduct provides a basis for any actionable claim, and denies that it has engaged in a
          12     racially discriminatory refusal to contract with ESN. Comcast denies the remaining
          13     allegations in paragraph 58.
          14             59.     With respect to paragraph 59, Comcast lacks sufficient knowledge or
          15     information to form a belief as to the truth of the allegations regarding what Congress
          16     and the Courts have repeatedly signaled to the FCC over the course of decades, and on
          17     that basis denies those allegations. Comcast denies the remaining allegations in
          18     paragraph 59.
          19             60.     With respect to paragraph 60, Comcast admits that it acquired a majority
          20     stake in NBCUniversal in 2011, that the transaction required the approval of the FCC,
          21     and that ESN and others urged the FCC to impose conditions on the transaction. To
          22     the extent Plaintiffs seek to summarize or characterize statements made to the FCC, the
          23     statements speak for themselves, and on that basis Comcast denies the allegations
          24     regarding statements made to the FCC. Comcast denies the remaining allegations in
          25     paragraph 60.
          26             61.     With respect to paragraph 61, Comcast admits that it entered into
          27     Memoranda of Understanding (“MOUs”) with various organizations and that the
          28     MOUs were submitted to the FCC. To the extent Plaintiffs seek to summarize or

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                 Defendant Comcast Corporation’s Answer to Second   10              Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 12 of 22 Page ID #:1400


            1    characterize the content of the MOUs, the MOUs are the best evidence of what they
            2    contain and they speak for themselves, and on that basis Comcast denies Plaintiffs’
            3    characterizations and allegations regarding the content of the MOUs. Comcast denies
            4    the remaining allegations in paragraph 61.
            5            62.     With respect to paragraph 62, Comcast admits that it entered into MOUs
            6    with various organizations and that the MOUs were submitted to the FCC. To the
            7    extent Plaintiffs seek to summarize or characterize the contents of the MOUs, the
            8    MOUs are the best evidence of what they contain and they speak for themselves, and
            9    on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
          10     content of the MOUs. Comcast denies the remaining allegations in paragraph 62.
          11             63.     With respect to paragraph 63, Comcast admits that it entered into MOUs
          12     with various organizations and that the MOUs were submitted to the FCC. To the
          13     extent Plaintiffs seek to summarize or characterize the contents of the MOUs, the
          14     MOUs are the best evidence of what they contain and they speak for themselves, and
          15     on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
          16     content of the MOUs. Comcast denies the remaining allegations in paragraph 63.
          17             64.     Comcast denies the allegations in paragraph 64.
          18             65.     With respect to paragraph 65, Comcast admits that Al Sharpton has had
          19     an on-screen television hosting position on MSNBC and that MSNBC is owned by
          20     NBCUniversal, which in turn is owned by Comcast. Comcast denies the remaining
          21     allegations in paragraph 65.
          22             66.     Comcast denies the allegations in paragraph 66.
          23             67.     With respect to paragraph 67, Comcast admits that it entered into MOUs
          24     with various organizations, that the MOUs were submitted to the FCC, that David
          25     Cohen signed the MOUs, and that David Cohen was Comcast’s Executive Vice
          26     President and Chief Diversity Officer at the time the MOUs were signed. To the
          27     extent Plaintiffs seek to summarize or characterize the contents of the MOUs, the
          28     MOUs are the best evidence of what they contain and they speak for themselves, and

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                 Defendant Comcast Corporation’s Answer to Second   11             Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 13 of 22 Page ID #:1401


            1    on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
            2    content of the MOUs. Comcast denies the remaining allegations in paragraph 67.
            3            68.     With respect to paragraph 68, to the extent Plaintiffs seek to summarize or
            4    characterize the contents of Annual Compliance Reports to the FCC, those reports are
            5    the best evidence of what they contain and they speak for themselves, and on that basis
            6    Comcast denies Plaintiffs’ characterizations and regarding the content of those reports.
            7    Comcast denies the remaining allegations in paragraph 68.
            8            69.     Comcast denies the allegations in paragraph 69.
            9            70.     Comcast admits that Meredith Attwell Baker was an FCC Commissioner,
          10     that she voted to approve the transaction in which Comcast acquired a majority stake
          11     in NBCUniversal in 2011, and that she accepted a position as Senior Vice President of
          12     Government Affairs, NBCUniversal starting in May 2011 after she left the FCC.
          13     Comcast denies the remaining allegations in paragraph 70.
          14             71.     With respect to paragraph 71, Comcast admits that the FCC approved the
          15     transaction in which Comcast acquired a majority stake in NBCUniversal in 2011.
          16     Comcast denies the remaining allegations in paragraph 71.
          17             72.     Comcast admits the allegations in paragraph 72.
          18             73.     With respect to paragraph 73, Comcast admits that in 2012 it announced
          19     the first two networks that it agreed to carry in connection with its commitments under
          20     the MOU with African American Leadership Organizations. Comcast denies the
          21     remaining allegations in paragraph 73.
          22             74.     With respect to paragraph 74, Comcast admits that Aspire was one of the
          23     networks it agreed to carry in connection with its commitments under the MOU with
          24     African American Leadership Organizations, and that Aspire is “spearheaded” by a
          25     prominent African American retired professional athlete, Earvin Johnson. To the
          26     extent Plaintiffs seek to summarize or characterize the contents of the MOUs, the
          27     MOUs are the best evidence of what they contain and they speak for themselves, and
          28

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                 Defendant Comcast Corporation’s Answer to Second   12               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 14 of 22 Page ID #:1402


            1    on that basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
            2    content of the MOUs. Comcast denies the remaining allegations in paragraph 74.
            3            75.     With respect to paragraph 75, to the extent Plaintiffs seek to summarize or
            4    characterize the contents of Aspire’s alleged disclosures of its ownership structure,
            5    those alleged disclosures are the best evidence of what they contain and they speak for
            6    themselves, and on that basis Comcast denies Plaintiffs’ characterizations and
            7    allegations regarding the contents of Aspire’s alleged disclosures of its ownership
            8    structure. Comcast denies the remaining allegations in paragraph 75.
            9            76.     With respect to paragraph 76, to the extent Plaintiffs seek to summarize or
          10     characterize the contents of the MOUs, the MOUs are the best evidence of what they
          11     contain and they speak for themselves, and on that basis Comcast denies Plaintiffs’
          12     characterizations and allegations regarding the content of the MOUs. Comcast denies
          13     the remaining allegations in paragraph 76.
          14             77.     With respect to paragraph 77, to the extent Plaintiffs seek to summarize or
          15     characterize the “reported[]” ownership of Aspire by InterMedia, any such reports are
          16     the best evidence of what they contain and they speak for themselves, and on that basis
          17     Comcast denies Plaintiffs’ characterizations and allegations regarding the “reported[]”
          18     ownership of Aspire by InterMedia. Comcast denies the allegations in paragraph 77.
          19             78.     Comcast denies the allegations in paragraph 78.
          20             79.     With respect to paragraph 79, Comcast admits that Revolt was one of the
          21     networks it agreed to carry in connection with its commitments under the MOU with
          22     African American Leadership Organizations, that Revolt was proposed by Sean
          23     “Diddy” Combs and Andy Schuon, that Payne Brown was a managing director at
          24     Highbridge Principal Strategies and was Vice President of Strategic Initiatives and a
          25     corporate officer at Comcast Corporation, and that Stephen Burke is Chief Executive
          26     Officer of NBCUniversal and Senior Executive Vice President, Comcast Corporation,
          27     and a Director of JPMorgan Chase & Co. To the extent Plaintiffs seek to summarize
          28     or characterize “published reports” of funding and investment in Revolt, those reports

Gibson, Dunn &
Crutcher LLP
                 Defendant Comcast Corporation’s Answer to Second   13               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 15 of 22 Page ID #:1403


            1    are the best evidence of what they contain and they speak for themselves, and on that
            2    basis Comcast denies Plaintiffs’ characterizations and allegations regarding “published
            3    reports” of funding and investment in Revolt. Comcast lacks sufficient knowledge or
            4    information to form a belief as to the truth of the allegations regarding the ownership
            5    of Highbridge Principal Strategies, HBRV Partners, Highbridge Capital Management,
            6    LLC, and J.P. Morgan Asset Management, and on that basis denies those allegations.
            7    Comcast denies the remaining allegations in paragraph 79.
            8            80.     With respect to paragraph 80, Comcast admits that Aspire and Revolt
            9    were the first two networks it agreed to carry in connection with its commitments
          10     under the MOU with African American Leadership Organizations. Comcast denies the
          11     remaining allegations in paragraph 80.
          12             81.     With respect to paragraph 81, Comcast admits that BabyFirst Americas
          13     was one of the networks it agreed to carry in connection with its commitments under
          14     the MOU with Hispanic Leadership Organizations. To the extent Plaintiffs seek to
          15     summarize or characterize the contents of the MOUs, the MOUs are the best evidence
          16     of what they contain and they speak for themselves, and on that basis Comcast denies
          17     Plaintiffs’ characterizations and allegations regarding the content of the MOUs.
          18     Comcast denies the remaining allegations in paragraph 81.
          19             82.     Comcast denies the allegations in paragraph 82.
          20             83.     Comcast denies the allegations in paragraph 83.
          21             84.     Comcast denies the allegations in paragraph 84.
          22             85.     Comcast denies the allegations in paragraph 85.
          23             86.     Comcast denies the allegations in paragraph 86.
          24             87.     With respect to paragraph 87, Comcast disputes that the allegations in
          25     paragraph 87 accurately characterize the nature of its discussions with ESN, and on
          26     that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
          27     with ESN. Comcast denies the remaining allegations in paragraph 87.
          28

Gibson, Dunn &
Crutcher LLP
                 Defendant Comcast Corporation’s Answer to Second   14              Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 16 of 22 Page ID #:1404


            1            88.     With respect to paragraph 88, Comcast disputes that the allegations in
            2    paragraph 88 accurately characterize the nature of its discussions with ESN, and on that
            3    basis denies Plaintiffs’ characterizations and allegations regarding its discussions with
            4    ESN. Comcast lacks sufficient knowledge or information to form a belief as to the
            5    truth of the allegations regarding ESN’s negotiations with Time Warner Cable, and on
            6    that basis denies those allegations. Comcast denies the remaining allegations in
            7    paragraph 88.
            8            89.     With respect to paragraph 89, Comcast denies that it discriminated against
            9    ESN, and further denies that it engaged in a pattern of institutionalized racial
          10     discrimination for decades. Comcast admits that it has contracted with the Black
          11     Family Channel and the Africa Channel. Comcast lacks sufficient knowledge or
          12     information to form a belief as to the truth of the remaining allegations in paragraph
          13     89, and on that basis denies the remaining allegations in paragraph 89.
          14             90.     Comcast denies the allegations in paragraph 90.
          15             91.     Comcast lacks sufficient knowledge or information to form a belief as to
          16     the truth of the allegations in paragraph 91, and on that basis denies the allegations in
          17     paragraph 91.
          18             92.     With respect to paragraph 92, to the extent Plaintiffs seek to summarize or
          19     characterize the contents of the document attached as Exhibit C to the SAC, the
          20     document is the best evidence of what it contains and it speaks for itself, and on that
          21     basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
          22     document attached as Exhibit C to the SAC. Comcast denies the remaining allegations
          23     in paragraph 92.
          24             93.     Comcast denies the allegations in paragraph 93.
          25             94.     Comcast denies the allegations in paragraph 94.
          26             95.     With respect to paragraph 95, Comcast admits that it has had a carriage
          27     agreement with GMC. Comcast lacks sufficient knowledge or information to form a
          28     belief as to the truth of the allegations regarding GMC’s efforts to sell the network, and

Gibson, Dunn &
Crutcher LLP
                 Defendant Comcast Corporation’s Answer to Second   15               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 17 of 22 Page ID #:1405


            1    on that basis denies those allegations. Comcast denies the remaining allegations in
            2    paragraph 95.
            3            96.     With respect to paragraph 96, to the extent Plaintiffs seek to summarize or
            4    characterize the contents of the document attached as Exhibit D to the SAC, the
            5    document is the best evidence of what it contains and it speaks for itself, and on that
            6    basis Comcast denies Plaintiffs’ characterizations and allegations regarding the
            7    document attached as Exhibit D to the SAC. Comcast lacks sufficient knowledge or
            8    information to form a belief as to the truth of the allegations regarding the Black
            9    Family Channel’s drafting of a lawsuit against Comcast in 2004, and on that basis
          10     denies those allegations. Comcast denies the remaining allegations in paragraph 96.
          11             97.     With respect to paragraph 97, Comcast denies that it discriminated on the
          12     basis of race in its dealings with Historically Black Colleges and Universities Network.
          13     Comcast lacks sufficient knowledge or information to form a belief as to the truth of
          14     the remaining allegations in paragraph 97, and on that basis denies those allegations.
          15             98.     With respect to paragraph 98, Comcast denies that its dealings with
          16     HBCU Network were discriminatory. To the extent Plaintiffs seek to summarize or
          17     characterize the contents of the alleged writing by Curtis Symonds, that writing is the
          18     best evidence of what it contains and it speaks for itself, and on that basis Comcast
          19     denies Plaintiffs’ characterizations and allegations regarding the contents of the alleged
          20     writing by Curtis Symonds.
          21             99.     Comcast denies the allegations in paragraph 99.
          22             100. Comcast denies the allegations in paragraph 100.
          23             101. With respect to paragraph 101, Comcast lacks sufficient knowledge or
          24     information to form a belief as to the truth of the allegations regarding the creation of
          25     Soul Train, Don Cornelius Productions’ ownership, Don Cornelius Productions’ desire
          26     to launch the Soul Train network, or the sale of the Soul Train franchise, and on that
          27     basis denies those allegations. Comcast denies the remaining allegations in paragraph
          28     101.

Gibson, Dunn &
Crutcher LLP
                 Defendant Comcast Corporation’s Answer to Second   16               Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 18 of 22 Page ID #:1406


            1            102. With respect to paragraph 102, Comcast disputes Plaintiffs’
            2    characterization of its conduct or that its conduct provides a basis for any actionable
            3    claim, and denies that it has engaged in a racially discriminatory refusal to contract
            4    with ESN. Comcast denies the allegations in paragraph 102.
            5            103. With respect to paragraph 103, Comcast disputes Plaintiffs’
            6    characterization of its conduct or that its conduct provides a basis for any actionable
            7    claim, and denies that it has engaged in a racially discriminatory refusal to contract
            8    with ESN. Comcast denies the allegations in paragraph 103.
            9               FIRST CAUSE OF ACTION: VIOLATION OF CIVIL RIGHTS
          10                                                (42 U.S.C. § 1981)
          11             104. Comcast incorporates by reference its responses to the preceding
          12     paragraphs as if fully set forth herein.
          13             105. With respect to paragraph 105, Comcast denies that it has engaged in, and
          14     is engaging in, pernicious, intentional racial discrimination in contracting. Comcast
          15     admits that 42 U.S.C. § 1981(a) contains, in part, the following words: “the making,
          16     performance, modification, and termination of contracts, and the enjoyment of all
          17     benefits, privileges, terms, and conditions of the contractual relationship.” The
          18     remaining allegations in paragraph 105 are conclusions of law for which no responsive
          19     pleading is required; to the extent a response is required, Comcast denies the
          20     allegations.
          21             106. With respect to paragraph 106, Comcast lacks sufficient knowledge or
          22     information to form a belief as to the truth of the allegations regarding the ownership
          23     of ESN, and on that basis denies those allegations. The remaining allegations in
          24     paragraph 106 are conclusions of law for which no responsive pleading is required; to
          25     the extent a response is required, Comcast denies the allegations.
          26             107. With respect to paragraph 107, Comcast disputes that the allegations in
          27     paragraph 107 accurately characterize the nature of its discussions with ESN, and on
          28

Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second   17             Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 19 of 22 Page ID #:1407


            1    that basis denies Plaintiffs’ characterizations and allegations regarding its discussions
            2    with ESN. Comcast denies the remaining allegations in paragraph 107.
            3            108. Comcast denies the allegations in paragraph 108.
            4            109. With respect to paragraph 109, Comcast disputes Plaintiffs’
            5    characterization of its conduct or that its conduct provides a basis for any actionable
            6    claim, and denies that it has engaged in a racially discriminatory refusal to contract
            7    with ESN. Comcast denies the allegations in paragraph 109.
            8            110. Comcast denies the allegations in paragraph 110.
            9            111. Comcast denies the allegations in paragraph 111.
          10             112. Comcast denies the allegations in paragraph 112.
          11             113. Comcast denies the allegations in paragraph 113.
          12             114. Comcast denies the allegations in paragraph 114.
          13             With respect to the prayer for relief, Comcast denies that Plaintiffs are entitled to
          14     compensatory damages, general damages, special damages, injunctive relief, punitive
          15     damages, attorneys’ fees, costs, interest, and/or any other relief.
          16
          17                            SEPARATE AND ADDITIONAL DEFENSES
          18             Without assuming any burden of proof that it would not otherwise bear,
          19     Comcast asserts the following separate and additional defenses:
          20                        FIRST SEPARATE AND ADDITIONAL DEFENSE
          21             Plaintiffs’ SAC fails to state a claim upon which relief can be granted.
          22                      SECOND SEPARATE AND ADDITIONAL DEFENSE
          23             The First Amendment to the United States Constitution bars Plaintiffs’ claims.
          24                        THIRD SEPARATE AND ADDITIONAL DEFENSE
          25             Plaintiffs lack standing under Article III of the United States Constitution.
          26                      FOURTH SEPARATE AND ADDITIONAL DEFENSE
          27             Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of
          28     limitation and/or statutes of repose.

Gibson, Dunn &
Crutcher LLP
                 Defendant Comcast Corporation’s Answer to Second   18                 Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 20 of 22 Page ID #:1408


            1                       FIFTH SEPARATE AND ADDITIONAL DEFENSE
            2            Plaintiffs’ claims are barred, in whole or in part, because they are not members
            3    of any class protected under 42 U.S.C. § 1981.
            4                       SIXTH SEPARATE AND ADDITIONAL DEFENSE
            5            Plaintiffs’ claims are barred, in whole or in part, because Comcast did not act
            6    with any discriminatory purpose with respect to any interactions with Plaintiffs.
            7                    SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            8            Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ damages, if
            9    any, were caused by independent, intervening and/or superseding events beyond the
          10     control of Comcast and unrelated to Comcast’s conduct. Any loss, injury, or damage
          11     claimed by Plaintiffs was proximately caused by events unrelated to Comcast’s alleged
          12     conduct, and/or the acts or omissions of persons or entities other than Comcast, over
          13     which Comcast has no control.
          14                      EIGHTH SEPARATE AND ADDITIONAL DEFENSE
          15             Plaintiffs have not sustained any injury or damage as a result of any actions
          16     allegedly taken by Comcast, and thus Plaintiffs are barred from asserting any claims
          17     against Comcast.
          18                        NINTH SEPARATE AND ADDITIONAL DEFENSE
          19             Plaintiffs’ claims are barred, in whole or in part, on the grounds that the alleged
          20     damages, if any, are speculative, vague, and based on guesswork and conjecture.
          21                       TENTH SEPARATE AND ADDITIONAL DEFENSE
          22             Plaintiffs’ claims are barred, in whole or in part, to the extent they have failed to
          23     mitigate their damages.
          24                    ELEVENTH SEPARATE AND ADDITIONAL DEFENSE
          25             Plaintiffs’ claims are barred by the doctrine of after-acquired evidence.
          26                     TWELFTH SEPARATE AND ADDITIONAL DEFENSE
          27             Plaintiffs’ SAC fails to allege facts sufficient to allow an award of punitive
          28     damages against Comcast.

Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second   19                Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 21 of 22 Page ID #:1409


            1                 THIRTEENTH SEPARATE AND ADDITIONAL DEFENSE
            2            The imposition of punitive damages in this case would violate the Due Process
            3    Clauses of the Fifth Amendment to the United States Constitution.
            4                 FOURTEENTH SEPARATE AND ADDITIONAL DEFENSE
            5            Plaintiffs’ claims are barred in whole or in part by the equitable doctrines of
            6    waiver, estoppel, laches, and/or unclean hands.
            7                   FIFTEENTH SEPARATE AND ADDITIONAL DEFENSE
            8            Comcast has insufficient knowledge or information upon which to form a basis
            9    as to whether it may have additional, as yet unstated, separate defenses available.
          10     Comcast has not knowingly and intentionally waived any applicable affirmative
          11     defenses and reserves the right to raise additional affirmative defenses as they become
          12     known to it through discovery in this matter. Comcast further reserves the right to
          13     amend its answer and/or affirmative defenses accordingly and/or to delete affirmative
          14     defenses that it determines are not applicable during the course of subsequent
          15     discovery, or through further legal analysis of Plaintiffs’ positions in this litigation.
          16                                           PRAYER FOR RELIEF
          17             WHEREFORE, Comcast prays as follows:
          18             1.      That Plaintiffs take nothing by the SAC;
          19             2.      That the SAC, and each and every purported claim for relief alleged in it,
          20     be dismissed with prejudice;
          21             3.      That Comcast be awarded its costs incurred, including reasonable
          22     attorneys’ fees; and
          23             4.      For such other and further relief as the Court may deem just and proper.
          24                                       DEMAND FOR JURY TRIAL
          25             Comcast demands a jury trial on all issues triable by jury.
          26
          27
          28

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                 Defendant Comcast Corporation’s Answer to Second   20                 Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
         Case 2:15-cv-01239-TJH-FFM Document 89 Filed 04/08/19 Page 22 of 22 Page ID #:1410


            1    DATE: April 8, 2019                                GIBSON, DUNN & CRUTCHER LLP
            2
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            7                                                       COMCAST CORPORATION
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Gibson, Dunn &
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                 Defendant Comcast Corporation’s Answer to Second         21                      Case 2:15-cv-01239-TJH-MAN
                 Amended Complaint
